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Executive Grant of Clemency

DONALD J. TRUMP

President of the United States of America

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

BE IT KNOWN, THAT THIS DAY, I, DONALD J. TRUMP, PRESIDENT
OF THE UNITED STATES, PURSUANT TO MY POWERS UNDER ARTICLE
II, SECTION 2, CLAUSE 1, OF THE CONSTITUTION, HAVE GRANTED UNTO

MICHAEL T. FLYNN

A FULL AND UNCONDITIONAL PARDON

for the charge of making false statements to Federal investigators, in violation of
Section 1001, Title 18, United States Code, as charged in the Information filed under
docket number 1:17-CR-00232-EGS in the United States District Court for the District of
Columbia; for any and all possible offenses arising from the facts set forth in the
Information and Statement of Offense filed under that docket number or that might arise,
or be charged, claimed, or asserted, in connection with the proceedings under that docket
number; for any and all possible offenses within the investigatory authority or jurisdiction
of the Special Counsel appointed on May 17, 2017, including the initial Appointment Order
No. 3915-2017 and subsequent memoranda regarding the Special Counsel’s investigatory
authority; and for any and all possible offenses arising out of facts and circumstances
known to, identified by, or in any manner related to the investigation of the Special
Counsel, including, but not limited to, any grand jury proceedings in the United States
District Court for the District of Columbia or the United States District Court for the
Eastern District of Virginia.

IN TESTIMONY WHEREOF, | have hereunto signed my name and caused the
seal of the Department of Justice to be affixed.

Done at the City of Washington in the

District of Columbia this twenty-fifth day
of November in the year of our Lord Two
Thousand and Twenty gnd of the

   
     

 

DONALD J. TRUMP
President
